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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
KIMBERLEY MORGAN a/k/a
KIMBERLY D. CIANO,
Civil Action No.:
Plaintiff,
VS. COMPLAINT
RAGAN & RAGAN, P.C., DEMAND FOR JURY TRIAL

ZWICKER & ASSOCIATES, P.C., &
DISCOVER FINANCIAL SERVICES,

Defendants.

 

Plaintiff KIMBERLEY MORGAN a/k/a KIMBERLEY D. CIANO (“Plaintiff”), by and
through her attorneys, LAW OFFICES OF ALLISON POLESKY, P.C., as and for her Complaint
against the Defendants RAGAN & RAGAN, P.C., ZWICKER & ASSOCIATES, P.C., &
DISCOVER FINANCIAL SERVICES (collectively herein, “Defendants”), respectfully sets forth,
complains and alleges, upon information and belief, the following:

INTRODUCTION

1. Plaintiff brings this action on her own behalf for monetary damages arising from the
Defendants’ violation(s) of §1692 et seq. of Title 15 of the United States Code, commonly referred
to as the Fair Debt Collections Practices Act (““FDCPA”). The FDCPA prohibits debt collectors
from engaging in abusive, deceptive, and unfair collection practices.

PARTIES
2a Plaintiff is a resident of the State of New Jersey, residing in Bellmawr, NJ.
3. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

4, Defendant RAGAN & RAGAN, P.C. (“RAGAN”) is a New Jersey professional
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corporation engaged in business of collecting debts with its principal place of business located at
3100 Route 138 West, Brinley Plaza, Building One, Wall, NJ 07719.

5. Defendant ZWICKER & ASSOCIATES, P.C. (““Z WICKER”) is a Massachusetts
professional corporation engaged in business of collecting debts with its principal place of business
located at 80 Minuteman Rd., Andover, MA 01810-1008. ZWICKER also maintains an office
location in Voorhees, NJ.

6. Defendant DISCOVER FINANCIAL SERVICES (“DISCOVER”) is a Delaware
business entity engaged in interstate commerce nationally throughout the United States and
including New Jersey with its principal offices located at 2500 Lake Cook Road, Riverwoods, IL
60015.

7. Defendants are “debt collectors” as the phrase is defined and used in the FDCPA
under 15 U.S.C. §1692a(6).

JURISDICTION AND VENUE
8. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331, as well as

15 U.S.C. §1692 et seg. and 28 U.S.C. §2201.

9. The Court has supplemental jurisdiction over the state law claims in this action
pursuant to 28 U.S.C. §1367(a).
10. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(1) & (2).
FACTUAL ALLEGATIONS
11. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
numbered “1” through “10” herein with the same force and effect as if the same were set forth at

length herein.
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12. On information and belief, on a date better known to the Defendants, DISCOVER
FINANCIAL SERVICES aka Discover Bank, either directly or through intermediate transactions
assigned, placed, transferred, or sold a consumer debt to RAGAN for collection (“the alleged
debt”).

13. The alleged debt is a “debt” as defined by 15 U.S.C. §1692a(5).

14. Upon information and belief, at some time during the past one year prior to the filing
of this action, Defendants began its attempts at collecting the alleged debt from Plaintiff.

15. Onor about August 27, 2008, Defendant filed a lawsuit against Plaintiff in New
Jersey Special Civil Part, Camden County titled Discover Bank v. Kimberley Ciano, Docket No.
DC-017623-08 (“state action’).

16. Plaintiff was never served with summons and complaint in the state action.

17. Defendant RAGAN admitted to serving an obsolete address despite Plaintiff using an
updated address on her taxes and having her address updated with the NJ DMV by the time the state
action was commenced.

18. Defendant RAGAN threatened Plaintiff more than once that a judgment would be
entered against her if the alleged debt was not resolved.

19. On or about January 25, 2012, Plaintiff through her legal counsel sent Defendant
RAGAN a complaint alleging violations of the FDCPA by RAGAN and further sought to attempt to
resolve the alleged debt without the need for litigation and without admitting or denying liability or
waiving any rights as to the alleged debt.

20. As of this date, Plaintiff has not received or seen a copy of the summons and

complaint in the state action.
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21. Plaintiff and Defendants RAGAN and DISCOVER entered into a Stipulation of
Settlement on the alleged debt in the state action.

22. Defendants RAGAN and DISCOVER agreed to allow Plaintiff sixty (60) months to
pay off the amount of $6,134.70, which is $102.25 per month.

23. Defendant RAGAN signed the Stipulation of Settlement as attorney, representative
and/or agent for, by and on behalf of Defendant DISCOVER.

24. The Stipulation of Settlement states “WE HEREBY consent to the terms of the
within settlement”

25. By signing the Stipulation of Settlement, Defendants RAGAN and DISCOVER
agreed to adhere to the terms contained therein.

26. On April 5, 2012, the Stipulation of Settlement was fully executed by Plaintiff and
W. Peter Ragan Sr. for, by and on behalf of Defendants RAGAN and DISCOVER.

27. Thereafter, from April 2012 through March 2013, Plaintiff upheld her end of the
bargain by making payments of $102.25 monthly via electronic payment on Defendant RAGAN’s
website.

28. | No payments were rejected or otherwise returned or refused by Defendant RAGAN.

29. On or about March 7, 2013, Plaintiff received notice from Defendant ZWICKER that
they had obtained a judgment against her on behalf of Defendant DISCOVER and that the alleged
debt had been transferred from RAGAN to ZWICKER.

30. The documents that Plaintiff received from Defendant ZWICKER are dated and
stamped “filed Sep 19, 2012”.

31. On or about October 18, 2012, Defendants ZWICKER and DISCOVER obtained a

default judgment against Plaintiff.
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32. On or about October 18, 2012, Defendants ZWICKER and DISCOVER obtained a
default judgment against Plaintiff despite the fact that Plaintiff had been in compliance with the
Stipulation of Settlement on file with the New Jersey Special Civil Part for the state action.

33. Defendant ZWICKER’s actions and inactions in waiting until about March 7, 2013
to mail said notice to Plaintiff dated September 19, 2012 caused Plaintiff great prejudice and harm
in the state action.

34. By the time the default judgment was obtained on October 18, 2012, Plaintiff had
made eight (8) payments to Defendants RAGAN and Z WICKER totaling approximately $818.00.

35. Defendants ZWICKER and DISCOVER obtained a judgment in the amount of
$5,941.27 plus costs of $57.00.

36. Given that Plaintiff adhered to her end of the Stipulation of Settlement, Defendants
ZWICKER and DISCOVER should not have entered judgment by default against her.

37. In addition to the invalidity of the default judgment, the judgment amount is false as
it does not credit Plaintiff for approximately $818.00 in payments on the balance of $6,134.70 at the
time judgment was entered.

38. Defendants ZWICKER and DISCOVER knew or should have known about the
Stipulation of Settlement as said document was filed with the New Jersey Special Civil Part for the
state action and payments were actively being made by Plaintiff to Defendants RAGAN and
DISCOVER pursuant to said Stipulation.

39. Onor about March 7, 2013, Plaintiff attempted to contact Defendant ZWICKER but
no one answered and as a result Plaintiff was compelled to leave a voice mail message that went

unreturned.
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40. Onor about March 14, 2013, Plaintiff attempted to speak to Defendant ZWICKER
through its agents “Richard”, “Lisa Jacobs” and “Jennifer Toyer”.

41. Defendant ZWICKER stated the balance due on the alleged debt was $6,001.18.

42. Plaintiff explained to Defendant ZWICKER that Plaintiff had been making payments
to DISCOVER through RAGAN’s website as agreed between them.

43. Defendant ZWICKER claimed only that they could not give Plaintiff any
information.

44. Later that day, Plaintiff contacted Defendant again and spoke with its alleged
manager “Michelle Bowen”.

45. Plaintiff again explained to Defendant ZWICKER that Plaintiff had been making
payments to DISCOVER through RAGAN’s website as agreed between them.

46. Plaintiff asked Defendant ZWICKER to remove the judgment against her.

47. Defendant claimed they would look into it and get back to Plaintiff.

48. On or about March 18, 2013, Plaintiff still had not heard back from Defendant
ZWICKER and thereafter attempted to contact “Michelle Bowen”.

49. On or about March 21, 2013, Defendant ZWICKER advised Plaintiff that they
needed until the following Thursday to investigate.

50. On or about March 21, 2013 at approximately 8:27PM, Plaintiff received a telephone
call from Defendant ZWICKER through its agent “Tammy Hardy”.

51. Defendant ZWICKER and “Tammy Hardy”, for, by and on behalf of Defendant
DISCOVER, told Plaintiff that she owed the alleged debt and demanded that Plaintiff explain how

she was going to resolve it.
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52. Plaintiff again explained to Defendant ZWICKER and “Tammy Hardy” that Plaintiff
had been making payments to DISCOVER through RAGAN’s website as agreed between them and
that ZWICKER’s agents “Jennifer” and “Michelle” were investigating.

53. Defendant ZWICKER and “Tammy Hardy” claimed that the screen didn’t show that
and that Plaintiff needed to resolve her debt.

54. Defendant ZWICKER and “Tammy Hardy” took a rude tone with Plaintiff upon
finally scrolling upon its own notes about Plaintiffs issues and problems with the alleged debt and
the state action.

55. Defendant ZWICKER and “Tammy Hardy” disagreed with Plaintiff and did not
care.

56. Plaintiff expressed to Defendant ZWICKER and “Tammy Hardy” that she was rude
and further that she was frustrated that she (Defendant) did not even bother to read Plaintiff's file
before calling.

57. Defendant ZWICKER and “Tammy Hardy” were dismissive and made excuses
claiming that Plaintiff's “name came up with a past due debt”.

58. On or about March 19, 2013, Defendant RAGAN, on its own behalf and on behalf of
Defendant DISCOVER, mailed to Plaintiff a letter wherein both Defendants stated that Plaintiffs
monthly payments would no longer be accepted.

59. Defendants RAGAN and DISCOVER advised Plaintiff to contact Defendant
ZWICKER for further information.

60. Defendant ZWICKER has chosen to not honor the Stipulation of Settlement despite

being without cause or present right to unilaterally act against Plaintiff under said stipulation.
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61. Defendants RAGAN and DISCOVER have chosen to not honor the Stipulation of
Settlement and to breach its contract with Plaintiff through no fault or cause of her own.

62. Defendants RAGAN and DISCOVER have chosen to not honor the Stipulation of
Settlement and to breach its contract with Plaintiff despite receiving the agreed upon monthly
payments.

63. Prior to and at the time of entry of the default judgment, Defendant ZWICKER and
DISCOVER knew or should have known payments were being made by Plaintiff as agreed as
DISCOVER was presumably paid via RAGAN.

64. Defendants ZWICKER and DISCOVER failed to notify Plaintiff that they sought to
obtain a default judgment against her.

65. Plaintiff settled with Defendants RAGAN and DISCOVER in lieu of litigation and
risking a judgment against her.

66. Despite Plaintiff's efforts, Plaintiff had a judgment entered against her anyway that
she only became aware of in March 2013.

67. According to facts and allegations as they have been discovered to date, it is apparent
that Plaintiff, from September 2012 through March 2013, has been erroneously making payments to
Defendant RAGAN for, by and on behalf of Defendant DISCOVER.

68. As of this date, Plaintiff does not know the whereabouts of said payments as Plaintiff
was under the impression that said payments were being accepted by Defendants RAGAN and
DISCOVER pursuant to the Stipulation of Settlement when in fact that is false.

69. On information and belief, Defendant RAGAN is in possession of money belonging

to Plaintiff that they are not legally entitled to have.
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70. Alternatively, on information and belief, Defendant RAGAN is in possession of
money paid by Plaintiff to RAGAN as agent for, by and on behalf of Defendant DISCOVER and
said money has not been remitted to Defendants ZWICKER or DISCOVER.

71. On information and belief, Defendant RAGAN is wrongfully possessing
money/property belonging to Plaintiff that RAGAN must return.

72. Defendant ZWICKER never provided Plaintiff with a § 1692g notice.

73. On information and belief, Defendant DISCOVER maintains control, oversight,
contact and decision making authority with and over Defendants RAGAN and ZWICKER as it
relates to the alleged debt and the state action.

74. Given that Defendant DISCOVER is a Plaintiff in the state action and also maintains
control, oversight, contact and decision making authority with and over Defendants RAGAN and
ZWICKER, Defendant DISCOVER knew or should have known that the alleged debt was being
paid and that judgment was not to be obtained.

75. On information and belief, as attorneys at law, Defendants RAGAN and ZWICKER
are without authority to act by, for and on behalf of Defendant DISCOVER without DISCOVER
having knowledge of the facts and circumstances of said action and without DISCOVER providing
consent to one or both attorneys to act.

FIRST CAUSE OF ACTION
FAIR DEBT COLLECTION PRACTICES ACT
AGAINST ALL DEFENDANTS

76. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
numbered “1” through “75” herein with the same force and effect as if the same were set forth at
length herein.

77. Defendants’ debt collection attempts attempted and/or directed towards the Plaintiff
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violate various provisions of the FDCPA, including but not limited to the following:
a. 15 U.S.C. §1692d-preface.
b. 15 U.S.C. §1692e-preface, (2), (5), (6), (7), (8), and (10).
c. 15 U.S.C. §1692f-preface & (1).
d. 15 U.S.C. §1692g(a).
78. Asaresult of Defendants’ violations of the FDCPA, Plaintiff is entitled to damages

in accordance with the FDCPA.
SECOND CAUSE OF ACTION
BREACH OF CONTRACT
AGAINST RAGAN & DISCOVER

79. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
numbered “1” through “78” herein with the same force and effect as if the same were set forth at
length herein.

80. By the acts, practices and omissions described above, Defendants RAGAN and
DISCOVER breached its written agreement with Plaintiff, to which Plaintiff was a party.

81. Asaresult of that contract breach, Plaintiff was damaged and is entitled to damages,

attorney’s fees and costs.

THIRD CAUSE OF ACTION
ABUSE OF PROCESS
AGAINST ZWICKER & DISCOVER
82. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
numbered “1” through “81” herein with the same force and effect as if the same were set forth at
length herein.
83. For the aforesaid, Defendants ZWICKER and DISCOVER committed an abuse of

process.
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84. The filing of and affirmative steps taken in the state action while with knowledge of

the aforesaid was intentional, wanton, malicious and with reckless disregard of the rights of

 

 

Plaintiff.
FOURTH CAUSE OF ACTION
CONVERSION
AGAINST RAGAN AND DISCOVER
85. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “84” herein with the same force and effect as if the same were set forth at
length herein.

86. The payments made by Plaintiff to RAGAN for DISCOVER’S benefit were intended
to satisfy the stipulation of settlement entered into in the original State Court action.

87. Instead, either RAGAN and/or DISCOVER have misappropriated the funds paid to

RAGAN for DISCOVER and have converted same for their own use.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff KIMBERLEY MORGAN demands judgment from the

Defendants RAGAN & RAGAN, P.C., ZWICKER & ASSOCIATES, P.C., & DISCOVER
FINANCIAL SERVICES as follows:

A. For actual damages provided and pursuant to 15 U.S.C. §1692k(a)(1);

B. For statutory damages of $1,000.00 per Defendant provided and pursuant to
15 U.S.C. §1692k;

C. For damages for Breach of Contract;

D. For damages for Abuse of Process;
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G.

H.

For actual damages for Conversion;
For attorneys’ fees, costs and disbursements;
For an award of pre-judgment interest on all sums awarded and/or collected;

For any such other and further relief, as well as further costs, expenses and

disbursements of this action, as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Plaintiff KIMBERLEY MORGAN hereby respectfully requests a trial by jury for all claims

and issues in her Complaint to which she is or may be entitled to at a jury trial.

CERTIFICATION PURSUANT TO LOCAL RULE 11.2

I hereby certify to my own knowledge and based upon information available to me at my

office and pursuant to Local Civil Rule 11.2 that this matter in controversy is not subject to any

other action pending in any court, arbitration or administrative proceeding.

Dated: May 2, 2013

Respectfully submitted,

LAW OFFICES OF ALLISON POLESKY, P.C.

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By: 4
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